                 Case 8:07-cr-00207-AG Document 262 Filed 07/22/10 Page 1 of 5 Page ID #:1522
AMENDED THIS DATE TO REFLECT RULINGS MADE AT RESTITUTION HEARING
                                                       United States District Court
                                                       Central District of California


 UNITED STATES OF AMERICA vs.                                              Docket No.              SACR 07-207-AG

 Defendant    SAM BYUNG KIM                                                Social Security No. 0            6   3   9
       Sam Kim; Sam B Kim; Dae Won Kim; Byung Seo
                                                                           (Last 4 digits)
 akas: Kim

                                         JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                    MONTH    DAY     YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.          07    20      2010

  COUNSEL          X WITH COUNSEL                                                C. Thomas McDonald, Appt.
                                                                                        (Name of Counsel)

     PLEA          X GUILTY, and the court being satisfied that there is a factual basis for the plea.             NOLO                NOT
                                                                                                                CONTENDERE            GUILTY
  FINDING          There being a finding/verdict of X GUILTY, defendant has been convicted as charged of the offense(s) of:
                   Bank Fraud, Aiding and Abetting, in violation of 18 USC §1344, 2 as charged in Count 1 of the Indictment

JUDGMENT           The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/          contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM             Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER            custody of the Bureau of Prisons to be imprisoned for a term of:

It is ordered that the defendant shall pay to the United States a special assessment of $100, which is due
immediately.

It is ordered that the defendant shall pay restitution in the total amount of $527,565.57 under 18 USC §3663A.
The amount of restitution ordered shall be paid as follows: Victim: Washington Mutual Bank, Amount”
$236,435.70; Victim: Bank of America, Amount $269,986.41; Victim: Wells Fargo Bank, Amount:
$21,143.46. An initial payment of $2,500 is ordered paid immediately.

Restitution shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and
pursuant to the Bureau of Prisons’ Inmate Financial Responsibility Program. If any amount of the restitutuion
remains unpaid after release from custody, nominal monthly payments of at least $150 per month shall be
made during the period of supervised release. These payments shall begin 30 days after the commencement of
supervision. Nominal restitution payments are ordered as the court finds that the defendant’s economic
circumstances do not allow for either immediate or future payment of the amount ordered. If the defendant
makes a partial payment, each payee shall receive approximately proportional payment unless another priority
order or percentage payment is specified in this judgment.

The defendant shall be held jointly and severally liable with co-participants Brandon Che Lee, Hae Joo Lee,
Ha Lim Jeon and Pyong Chae. (Docket No. SACR 07-207-AG) for the amount of restitution ordered in this
judgment. The victims’ recovery is limited to the amount of their loss and the defendant’s liability for restition
ceases if and when the victims receive full restitution.



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Pursuant to 18 USC §3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does
not have the ability to pay interest. Payments may be subject to penalties for default and delinquency pursuant
to 18 USC §3612(g).

The defendant shall comply with General Order No. 01-05. All fines are waived as it is found that the
defendant does not have the ability to pay a fine in addition to restitution.

Under the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Sam Byung Kim,
is hereby committed on Count One of the indictment to the custody of the Bureau of Prisons to be imprisoned
for a term of 364 days.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of five years
under the following terms and conditions:

1.       The defendant shall comply with the rules and regulations of the U. S. Probation Office and
         General Order 318;

2.       The defendant shall comply with the immigration rules and regulations of the United States, and
         if deported from this country, either voluntarily or involuntarily, not reenter the United States
         illegally. The defendant is not required to report to the Probation Office while residing outside
         of the United States; however, within 72 hours of release from any custody or any reentry to the
         United States during the period of Court-ordered supervision, the defendant shall report for
         instructions to the United States Probation Office, located at the United States Court House, 411
         West Fourth Street, Suite 4170, Santa Ana, California;

3.       The defendant shall not be employed in any business that involves merchant teller or credit card
         transactions; nor shall the defendant be employed in any business where he has access to any form of
         personal identification or access device, without prior written approval of the Probation Officer;

4.       The defendant shall not obtain or possess any driver's license, Social Security number, birth certificate,
         passport, or any other form of identification in any name other than the defendant’s true legal name; nor
         shall the defendant use for any purpose or in any manner any name other than his true legal name or
         names without the prior written approval of the Probation Officer;

5.       During the period of community supervision the defendant shall pay the special assessment, restitution
         and/or fine in accordance with this judgment's orders pertaining to such payment;

6.       The defendant shall cooperate in the collection of a DNA sample from the defendant..

7.       The defendant shall apply monies in excess of $500 received from income tax refunds to the
         outstanding court-ordered financial obligation. In addition, the defendant shall apply all monies
         received from lottery winnings, inheritance, judgments and any anticipated or unexpected
         financial gains to the outstanding court-ordered financial obligation;

The drug testing condition mandated by statute is suspended based on the Court's determination that the
defendant poses a low risk of future substance abuse.

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 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            July 22, 2010
            Date                                                            U. S. District Judge Andrew J. Guilford

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                            Clerk, U.S. District Court



            July 22, 2010                                            By     D. Roberts
            Filed Date                                                      Deputy Clerk



 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant shall not commit another Federal, state or local crime;         10.   the defendant shall not associate with any persons engaged in criminal
 2.    the defendant shall not leave the judicial district without the written             activity, and shall not associate with any person convicted of a felony
       permission of the court or probation officer;                                       unless granted permission to do so by the probation officer;
 3.    the defendant shall report to the probation officer as directed by the        11.   the defendant shall permit a probation officer to visit him or her at any
       court or probation officer and shall submit a truthful and complete                 time at home or elsewhere and shall permit confiscation of any
       written report within the first five days of each month;                            contraband observed in plain view by the probation officer;
 4.    the defendant shall answer truthfully all inquiries by the probation          12.   the defendant shall notify the probation officer within 72 hours of
       officer and follow the instructions of the probation officer;                       being arrested or questioned by a law enforcement officer;
 5.    the defendant shall support his or her dependents and meet other              13.   the defendant shall not enter into any agreement to act as an informer
       family responsibilities;                                                            or a special agent of a law enforcement agency without the permission
 6.    the defendant shall work regularly at a lawful occupation unless                    of the court;
       excused by the probation officer for schooling, training, or other            14.   as directed by the probation officer, the defendant shall notify third
       acceptable reasons;                                                                 parties of risks that may be occasioned by the defendant’s criminal
 7.    the defendant shall notify the probation officer at least 10 days prior             record or personal history or characteristics, and shall permit the
       to any change in residence or employment;                                           probation officer to make such notifications and to conform the
 8.    the defendant shall refrain from excessive use of alcohol and shall not             defendant’s compliance with such notification requirement;
       purchase, possess, use, distribute, or administer any narcotic or other       15.   the defendant shall, upon release from any period of custody, report
       controlled substance, or any paraphernalia related to such substances,              to the probation officer within 72 hours;
       except as prescribed by a physician;                                          16.   and, for felony cases only: not possess a firearm, destructive device,
 9.    the defendant shall not frequent places where controlled substances                 or any other dangerous weapon.
       are illegally sold, used, distributed or administered;


  X    The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).




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           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject
 to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution , however, are not
 applicable for offenses completed prior to April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

         The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
 Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
 the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C.
 §3563(a)(7).

           Payments shall be applied in the following order:

                     1. Special assessments pursuant to 18 U.S.C. §3013;
                     2. Restitution, in this sequence:
                               Private victims (individual and corporate),
                               Providers of compensation to private victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                     5. Other penalties and costs.




                               SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

          As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
 inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement, with
 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.

           The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
 shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts, including any
 business accounts, shall be disclosed to the Probation Officer upon request.

         The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                               These conditions are in addition to any other conditions imposed by this judgment.




                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:


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 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal




                                                                 CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                    Defendant                                                       Date




                    U. S. Probation Officer/Designated Witness                      Date




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